                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                                   ASHEVILLE DIVISION

JANE ROE,                              )
                                       )
                        Plaintiff,     )
                                       )
v.                                     ) Civil No. 1:20-cv-00066-WGY
                                       )
UNITED STATES OF AMERICA, et al.,      )
                                       )
                        Defendants.    )
                                       )
_______________________________________)


      PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF HER MOTION
             FOR PARTIAL SUMMARY JUDGMENT AGAINST THE
                   INDIVIDUAL-CAPACITY DEFENDANTS

       Plaintiff Jane Roe (“Roe”) was subjected to sexual harassment, retaliation, and

discrimination during her employment as an assistant federal public defender. Roe sought relief

under the Fourth Circuit’s Employment Dispute Resolution (“EDR”) Plan, but she was deprived

of any meaningful review or remedies, resulting in her constructive discharge.

       Because the material facts showing these equal protection violations are not subject to

genuine dispute, Roe respectfully requests that the Court enter an order granting partial summary

judgment against the individual-capacity defendants on the issue of liability under the Fifth

Amendment and 42 U.S.C. §§ 1985(3), 1986. See Fed. R. Civ. P. 56(a).

                                          ARGUMENT

I.     Defendants Are Individually Liable For Violating Roe’s Equal Protection Rights.

       Defendants violated Roe’s constitutional right to be free from sex discrimination in her

federal employment. Specifically, defendants subjected Roe to sexual harassment,

discrimination, and retaliation, failed to take immediate and effective remedial action on her

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complaints, and deprived her of any meaningful remedies or review, resulting in her constructive

discharge. These actions unlawfully burdened Roe because of her gender, in violation of the

Fifth Amendment’s Due Process Clause.

       Stated simply, “[c]reating abusive conditions for female employees and not for male

employees is discrimination.” Bohen v. City of E. Chicago, Ind., 799 F.2d 1180, 1185 (7th Cir.

1986) (citing Meritor Savings Bank v. Vinson, 477 U.S. 57 (1986)). “Forcing women and not

men to work in an environment of sexual harassment is no different than forcing women to work

in a dirtier or more hazardous environment than men simply because they are women. Such

unjustified unequal treatment is exactly the type of behavior prohibited by the equal protection

clause as interpreted in Davis v. Passman, 442 U.S. 228, 234–35 (1979).” Id. at 1185–86. This

form of discrimination can never be “justified” by a “legitimate” policy purpose, because “there

is virtually no scenario imaginable where sexual harassment . . . is substantially related to

important governmental objectives.” Id. at 1187. And by violating Roe’s protected rights under

the EDR Plan, defendants arbitrarily and unfairly denied her the benefit of the very procedures

that were designed to protect her from workplace discrimination. See Bolling v. Sharpe, 347

U.S. 497, 499 (1954) (explaining that “the concepts of equal protection and due process, both

stemming from our American ideal of fairness, are not mutually exclusive”).

       Each of the individual-capacity defendants is personally liable for his or her “affirmative

conduct . . . that played a role in the discrimination.” Andrews v. City of Philadelphia, 895 F.2d

1469, 1478 (3d Cir. 1990), superseded on other grounds by statute (citing Rizzo v. Goode, 423

U.S. 362, 377 (1976)). Under the Fifth Amendment, the EDR Plan, and the judiciary’s codes of

conduct, each defendant had a duty to ensure that Roe would be free from gender discrimination

in her federal workplace. See, e.g., Davis v. Passman, 442 U.S. 228, 235–36 (1979); Beardsley



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v. Webb, 30 F.3d 524, 529 (4th Cir. 1994); Guide to Judiciary Policy § 220.10.10; EDR Plan Ch.

II, § 1 (2013); Code of Conduct for United States Judges, Canon 3B(4), 3B(6); Code of Conduct

for Judicial Employees Canon 3(C)(1); Code of Conduct for Federal Public Defender Employees

Canon 3(C). However, defendants violated these duties, as set forth in detail in Roe’s motion for

partial summary judgment against the official capacity and entity defendants and accompanying

declarations and exhibits, which she expressly adopts and incorporates here. See ECF No. 60;

see also ECF No. 48, at 1–13 (describing equal protection violations by individual-capacity

defendants).

       To begin with, there is no dispute that Roe was subjected to unlawful discrimination at

the FDO, including by the highest levels of management. In fact, the Chief Judge took

“disciplinary action” “as a result of [her] report of wrongful conduct.” Roe Decl., Ex. C, at 73;

see also ECF No. 37, at 1, 5; ECF No. 39, at 1, 5; ECF No. 41, at 1, 5. The EDR Plan defines

“wrongful conduct,” in relevant part, as “[d]iscrimination against employees based on . . . sex

(including pregnancy and sexual harassment),” and “retaliation for engaging in any protected

activity.” EDR Plan Ch. II, § 1. The Plan further provides that “[e]mployees found by the Chief

Judge and/or unit executive to have engaged in wrongful conduct, as defined in this Plan, may be

subject to disciplinary action.” EDR Plan Ch. IX (emphases added). Under the EDR Plan’s

plain terms, a finding of wrongful conduct—that is, unlawful discrimination—is a prerequisite to

taking disciplinary action.

       Despite Roe’s valid complaints of discrimination, defendants failed to take adequate

remedial steps. Most importantly, as the head of Roe’s employing office—and that office’s

representative in the EDR proceeding—the Defender was responsible for ensuring a workplace

free of sexual harassment, retaliation, and discrimination. See 18 U.S.C. § 3006A(g)(2)(A);



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EDR Plan Ch. II, § 1. However, after Roe reported her complaints to the Defender, he failed to

take appropriate action. See Declaration of Jane Roe in Support of Motion for Partial Summary

Judgment, ECF No. 60-2 (“Roe Decl.”), Ex. B, at 4–7. The Defender failed to remove her from

the First Assistant’s supervision or protect her confidentiality, made hostile and discriminatory

comments to her, and initiated a wrongful conduct investigation only after she followed up on his

promises to take appropriate action. Id. He also retaliated against her by diminishing her job

duties and not considering her for an opening as an appellate assistant federal public defender.

Id. at 6–7. Instead, the Defender gave her a “phantom promotion,” with Fourth Circuit approval,

which was a reclassification of title that benefitted the office’s work measurement formula with

no consideration for a raise or progression of job responsibilities, and a loss of her locality

adjustment. Id.; Roe Decl., Ex. D.

       Defendants ratified, enforced, and amplified the discrimination through their affirmative

acts at each stage of the EDR process. From the start, defendants worked together to shut down

the efforts by the Fair Employment Opportunity Officer, the Deputy Director, and the Chief of

Defender Services to take immediate and effective action on Roe’s complaints. Complaint

¶¶ 213–35; Roe Decl., Ex. B, at 26, 29–32; Roe Decl., Ex. C, at 1–2. Specifically, they (1)

prohibited Roe from communicating with the Fair Employment Opportunity Officer, Complaint

¶¶ 222–35; Roe Decl., Ex. C, at 3; (2) criticized her for reporting her complaints to the AO,

Complaint ¶¶ 199, 266; Roe Decl., Ex. B, at 6, 30; (3) ensured that she was denied any

consideration for a promotion, id. ¶¶ 236–51; Roe Decl., Ex. B, at 7, 31–32; Roe Decl., Ex. D;

and (4) required her to continue working for the trial unit that was directly supervised by her

harasser, Complaint ¶¶ 216, 244; Roe Decl., Ex. B, at 6–7, 31, 52. Defendants personally




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participated in these actions, which directly resulted in Roe being prohibited from speaking to

the Fair Employment Opportunity Officer. Complaint, ¶ 231; Roe Decl., Ex. C, at 3.

       Defendants then burdened Roe by placing her on telework for over six months with no

action on her complaints, while leaving the accused harasser in his duty station and supervisory

role. Complaint ¶ 338; see also Roe Decl., Ex. B, at 11, 33. This situation made Roe’s job

duties, such as preparing for court appearances, difficult if not impossible. Complaint ¶ 338; see

also Roe Decl., Ex. B, at 32–33. In addition, Roe was subjected to hostile and demeaning

treatment, such as her coworkers’ belittling jokes about meeting her at “Waffle House” and

comparing her to “Where’s Waldo,” id. ¶¶ 349–54, and her Team Leader’s wearing of an

offensive Justice Kavanaugh beer-guzzler helmet for the office Halloween party, id. ¶ 346; see

also Roe Decl., Ex. B, at 28, 32–33.

       During this lengthy period, defendants failed to conduct an appropriate investigation.

Under Chapter IX of the EDR Plan, “[t]he Chief Judge and/or unit executive shall ensure that the

allegations in the report are appropriately investigated.” In addition, the EDR Coordinator, the

General Counsel, and John Doe(s) personally involved themselves with overseeing the

investigation. Cf. Fourth Circuit EDR Plan § VI(B) (Sept. 2020) (prohibiting unit executives

from serving as EDR Coordinators). 1 For example, on the advice of the General Counsel, the



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         The Fourth Circuit adopted a new EDR Plan on September 14, 2020. See Exhibit A.
Among other changes from the 2013 and 2018 EDR Plans, the 2020 EDR Plan expressly
disclaims any intent “to adjudicate employee discipline” and states that “[i]t is the responsibility
of the appointing official to assess, in accordance with applicable policies and procedures,
whether further action in a separate process is necessary to correct and prevent wrongful
conduct.” Id. § I; compare EDR Plan Ch. IX (2013) (“The Chief Judge and/or unit executive
shall ensure that the allegations in the report are appropriately investigated,” and “[e]mployees
found by the Chief Judge and/or unit executive to have engaged in wrongful conduct . . . may be
subject to disciplinary action.”).


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EDR Coordinator “received” the investigation report instead of the Defender. Complaint ¶ 265;

Roe Decl., Ex C, at 6, 29, 51. The EDR Coordinator told Roe that if the allegations against the

Defender were substantiated, then the Chief Judge would “step in” as the Defender’s

“supervisor.” Complaint ¶ 287. And the EDR Coordinator and Chief Judge relied on the

directives of John Doe(s) in the Office of General Counsel throughout the investigation.

Complaint ¶¶ 227, 230, 398, 451, 474; Roe Decl., Ex. C, at 3, 58.

       Despite defendants’ personal involvement in the investigation, Roe went for periods of

three to six weeks without hearing any updates. Complaint ¶¶ 306, 322, 362, 384. When the

initial report was submitted approximately two months after the investigation opened, Roe was

told that the report was being sent back to be redone. Id. ¶ 362. At this point, Roe learned that

the Investigator had been asked to make “recommendations,” even though, by her own

admission, she was not trained or qualified to do so. Id. ¶¶ 320, 364. Roe also learned that her

retaliation complaints were not investigated, id. ¶¶ 318–19, 384; Roe Decl., Ex. C, at 45, because

the Defender’s misconduct was characterized as mishandling, not retaliation, id. ¶ 319.

       During this period, defendants gave Roe no alternative to negotiating a resolution with

the Defender, against whom she had filed a formal complaint for retaliating against her and

subjecting her to a hostile working environment. Roe Decl., Ex. B, at 3–7, 11; Ex. C, at 50–51.

Defendants refused to recuse or disqualify the Defender from representing the employing office

even though he was “involved in,” and a subject of, the complaint. EDR Plan Ch. X, § 7; see

also EEOC Mgmt. Directive 110, 1-7 (2015) (an accused agency head should recuse himself

from the decision-making process on an EEO complaint). Defendants recognized that the

Defender had a conflict of interest, which is why the EDR Coordinator “received” the




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investigation report instead of the Defender. Roe Decl., Ex. C, at 6, 29, 51. But when it came to

formally disqualifying him, defendants refused. Id. at 50–51.

       Not only did defendants not disqualify the Defender, but they refused to rule on the

matter. For months, defendants gave Roe the impression that her disqualification request was

being stayed because they would need to make a finding of misconduct before disqualifying the

Defender. See Complaint ¶¶ 287, 370; see also Roe Decl., Ex. C, at 5. After the investigation

report finally came out, the EDR Coordinator told Roe that the Chief Judge “intend[ed]” to deny

her request to disqualify the Defender, Roe Decl., Ex. C, at 50–51, but Roe was not provided any

written ruling or statement of reasons, even after renewing her disqualification request,

Complaint ¶ 453; see Roe Decl., Ex. B, at 57–60; Ex. C, at 66.

       Following these delays, the situation was made even worse when defendants withheld the

investigation report and deliberately refused to act. See Complaint ¶¶ 398, 401; Roe Decl., Ex.

C, at 60. As the EDR Coordinator explained to Roe, he decided to withhold the report and delay

action specifically after discussions with the Office of General Counsel and with approval of the

Chief Judge. Complaint ¶ 398; see Roe Decl. Ex. C, at 58, 60. But defendants are not entitled to

sit on their hands and refuse to act on sexual harassment. See, e.g., EDR Plan Ch. IX. They are

required to take “immediate” corrective action. EEOC Enforcement Guidance: Vicarious

Liability for Unlawful Harassment by Supervisors, 1999 WL 33305874, at *2, 9, 11, 13, 9 n.57.

Defendants’ refusal to take immediate corrective action, after the investigation had already been

pending for an unacceptably long period of over four months, was per se unreasonable and a

“conscious failure” to act on sexual harassment. Bohen, 799 F.2d at 1187. Inexplicably,

disciplinary action was eventually taken, but not until almost six months later, after Roe had

already resigned. Roe Decl., Ex. C, at 73.



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       Defendants’ refusal to disclose the investigation report also violated the Plan’s provision

requiring information and records to be shared on a “need-to-know basis.” EDR Plan Ch. X, § 4.

After telling Roe that the report would be the basis for acting in her Chapter X proceeding, Roe

Decl., Ex. C, at 6, 30, defendants refused to disclose to Roe the results of the investigation or

even a summary of its findings and recommendations, Complaint ¶ 398; Roe Dec., Ex. C, at 60.

The EDR Coordinator explained that he did not want to “spark[] satellite litigation over the

accuracy of the report” rather than “focus on the outstanding issues.” Roe Decl., Ex. C, at 60.

However, the “outstanding issue” at that time was taking “appropriate[]” action pursuant to

Chapter IX of the EDR Plan. Moreover, at a minimum, Roe had a right to know the results of

the investigation into her own complaint, which was being used to adjudicate her legal rights

under Chapter X of the EDR Plan.

       In addition, defendants violated the EDR Plan’s requirement of an “appropriate” remedy.

EDR Plan Ch. X, § 12. Specifically, Roe requested “[a]n environment free of harassment,

retaliation, and discrimination, . . . the opportunity for merit-based advancement, and any other

appropriate relief.” Roe Decl., Ex. B, at 2. However, Roe was not even afforded the possibility

of an appropriate remedy. She asserted that she had been denied consideration for a promotion

because of her harassment. Id. at 6–7; cf. 2020 EDR Plan § III(B) (discrimination includes

“failing to promote” and “significant change in benefits”). She requested action to stop the

harassment and prevent it from recurring. Roe Decl., Ex. B, at 6–7. She repeatedly requested a

transfer. Roe Decl., Ex. C, at 26–27, 57–59. But she was told that any meaningful action would

be viewed as “micromanaging” or “meddl[ing].” Complaint ¶¶ 415, 438. She was told that an

EDR presiding officer would have no authority to order remedies. Id. ¶ 439; Roe Decl., Ex. C, at




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69. And she was told she could not transfer. Id. ¶ 454; cf. 2020 EDR Plan § V(B)(4) (interim

relief includes transfer request).

        Finally, defendants violated Roe’s rights by depriving her of any meaningful review or

remedies for unlawful discrimination. As judiciary officials acknowledged to Roe, an EDR

presiding officer does not have legal authority to order remedies against a federal defender

office. See, e.g., Complaint ¶¶ 371, 415, 439, 444. Moreover, Judicial Conference policy

establishes the lack of meaningful remedies as a matter of law:

        a. EDR proceedings are strictly administrative and are not “cases and controversies”
           under Article III of the Constitution;

        b. Judges presiding in EDR matters are functioning in an administrative rather than
           judicial capacity;

        c. Judges’ decisions in EDR matters must be in conformance with all statutes and
           regulations that apply to the judiciary, and judges in the EDR context have no
           authority to declare such statutes or regulations unconstitutional or invalid; and

        d. Judges presiding in EDR matters may not compel the participation of or impose
           remedies upon agencies or entities other than the employing office which is the
           respondent in such matters.

Proceedings of the Judicial Conference of the United States at 25 (Sept. 2010) (JCUS); see also

2020 EDR Plan § V(C)(3)(f)(iii) (“Presiding Judicial Officers serve in an administrative capacity

with limited, non-Article III authority, even if they otherwise serve as Article III judges.”).

Thus, judges in the EDR context are not acting in a “judicial” capacity at all. Golinski v. U.S.

Office of Pers. Mgmt., 781 F. Supp. 2d 967, 973 (N.D. Cal. 2011). EDR presiding officers are

not engaged in “judicial review” any more than a supervisor making a hiring or firing decision.

And they can only order remedies that are already authorized by statute. In purporting to “cover”

FDOs and misleading Roe into believing she had meaningful remedies, when she did not,

defendants are liable for implementing discriminatory policies and practices. Cf. EDR Plan Ch.



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X, § 6(A) (EDR Coordinator has a duty “[t]o provide information to . . . employees regarding the

rights and protections afforded under this Plan”).

       As judiciary officials implicitly acknowledged, Complaint ¶¶ 439, 444; Roe Decl., Ex. C,

at 69, no statute gives an EDR presiding officer authority to order remedies against a federal

defender office. In fact, the Criminal Justice Act (“CJA”) limits the court of appeals’ authority

to appointing the federal defender, setting his compensation, and removing him for

“incompetency, misconduct in office, or neglect of duty.” 18 U.S.C. § 3006A(g)(2)(A). The

federal defender has authority over personnel decisions, including whether to appoint and

remove assistant federal public defenders. Id. This separation was by design, to further the

CJA’s purpose of protecting the independence of the Sixth Amendment defense function. As

Congress recognized, “[i]t would be just as inappropriate to place direction of the defender arm

in the judicial arm of the U.S. Government as it would be in the prosecutorial arm.” S. Rep. No.

91-790, at 18 (1970).

       At most, the CJA offers only indirect authority to impose remedies. An EDR presiding

officer could attempt to influence federal defenders to adopt recommendations, based on the

court of appeals’ authority to appoint and remove the federal defender. See, e.g., Ninth Circuit

EDR Plan for Federal Defenders at 3 (2019) (adopted based on court of appeals’ authority to

appoint and remove federal defenders). But this is not the same as having binding legal

authority, JCUS at 25, and it is cold comfort to discrimination victims, who functionally have no

meaningful review or remedies. And if defendants did have any legal authority, it is even more

inexplicable why it was not used.

       Under these circumstances, there can be no genuine factual dispute that Roe resigned

because she received no relief for unlawful discrimination in her employment. See, e.g.,



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Complaint ¶ 475 (“Roe told the EDR Coordinator that she had lost her job because she filed a

complaint.”); see also Roe Decl., Ex. C, at 26–27 (“This situation has irreparably damaged my

relationships with the Federal Defender and my colleagues, and I believe I am no longer

welcome in that environment.”); id. at 57 (“I do not believe it is possible to reach a resolution

with my current office that will protect me from further harassment and allow me to advance in

my career.”). Because Roe’s involuntary resignation directly resulted from defendants’

violations of her rights, and was “objective[ly]” reasonable, defendants are liable. Pennsylvania

State Police v. Suders, 542 U.S. 129, 141 (2004).

       In arguing that Roe’s resignation was “voluntar[y],” defendants point to an email in

which she expressed her gratitude to the Chief Judge and EDR Coordinator for supporting her

clerkship application. ECF No. 45, at 9. But on its face, the email does not create a genuine

factual dispute. Rather, Roe said she was “saddened to no longer be a federal defender” and was

resigning because it was the “best possible outcome under the circumstances.” Id. The email

merely confirms that she was seeking the best possible outcome when forced to resign.

       Despite the foregoing facts, Roe expects that defendants may contend that they were

acting pursuant to judiciary “policy.” See, e.g., ECF No. 45, at 2, 19; No. ECF 37, at 2, 16–18;

ECF No. 39, at 2, 17–18; ECF No. 41, at 2, 16–17. For example, defendants have asserted that

Roe’s claims attack what they describe as the “policies underlying the Plan.” ECF No. 45, at 19;

cf. Complaint ¶ 8 (“Roe’s rights under the EDR Plan existed on paper, but were fictional in

practice.”). But in fact, defendants’ actions violated the judiciary’s antidiscrimination policies

and the EDR Plan, which prohibit sexual harassment, discrimination, and retaliation and require

appropriate action on complaints. Guide to Judiciary Policy § 220.10.10; EDR Plan Ch. II, § 1,

Ch. IX; Code of Conduct for United States Judges, Canon 3B(4), 3B(6); Code of Conduct for



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Judicial Employees Canon 3(C)(1); Code of Conduct for Federal Public Defender Employees

Canon 3(C). Defendants’ actions also violated Title VII precedents and administrative guidance,

which apply to EDR proceedings. See EDR Plan Ch. II, § 10B(2)(e) (instructing EDR presiding

officers to be “guided by judicial and administrative decisions” related to Title VII). Rather than

help defendants, their argument that they acted pursuant to policy provides “[e]vidence of a

pattern or practice of discrimination,” and is “strong evidence supporting a plaintiff’s claim that

she herself has been the victim of discrimination.” Bohen, 799 F.3d at 1187.

       Defendants may also argue that they did not act with specific intent to discriminate. See,

e.g., ECF No. 45, at 19 (asserting that Roe’s claims against the Defender “boil down to a former

judiciary employee’s dissatisfaction with her supervisor’s handling of her issues”). However,

defendants’ decisions not to take appropriate action on Roe’s complaints were intentional, supra

pp. 3–9, and any subjective beliefs used to rationalize their conduct are irrelevant. See Feminist

Majority Found. v. Hurley, 911 F.3d 674, 703 (4th Cir. 2018) (official’s failure to stop

harassment and downplaying harassment are sufficient for intent element of equal protection

claim). Sexual harassment, by definition, is a form of intentional gender discrimination.

Beardsley, 30 F.3d at 530. Thus, “[a] supervisor who has been apprised of unlawful

harassment . . . should know that her failure to investigate and stop the harassment is itself

unlawful.” Bator v. Hawaii, 39 F.3d 1021, 1029 (9th Cir. 1994). And as the Fourth Circuit has

held, “[t]he test is objective; [a defendant’s] subjective beliefs about the propriety of his conduct

are irrelevant.” Beardsley, 30 F.3d at 530. Because no officer “could reasonably have thought,

in light of clearly established law,” that defendants’ actions were “consistent with [Roe’s] rights

to be free from discrimination,” defendants are liable. Id.




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       Finally, defendants have argued that Roe “merely implies that things would have been

different if [she] were a man.” See, e.g., ECF No. 37, at 12; ECF No. 39, at 12–13; ECF No. 41,

at 12. But that is precisely the point—Roe would not have suffered these deprivations of her

equal protection rights if she were a man. As the Supreme Court has held, an employer engages

in discrimination when he or she intentionally fires an employee, forces her to resign, or

otherwise treats her worse, because of her sex. See Bostock v. Clayton Cty., Georgia, 140 S. Ct.

1731, 1741 (2020) (Title VII). 2 Put simply, “if changing the employee’s sex would have yielded

a different choice by the employer,” then discrimination has occurred. Id. If Roe were a man,

she would not have been subjected to sexual harassment by her male supervisor that went

unremedied by defendants, resulting in her constructive discharge. Defendants’ conduct made

Roe’s workplace unbearable because she was a woman and was “unjustified unequal treatment”

based on her sex. Bohen, 799 F.2d at 1185.

II.    Defendants Are Liable Under Davis v. Passman.

       In Davis v. Passman, the Supreme Court held that the Fifth Amendment provides a

“cause of action” for sex discrimination that “may be redressed by a damages remedy.” 3 442

U.S. at 249. As the Court held, “all individuals, whatever their position in government, are

subject to federal law.” 422 U.S. at 246 (quotation omitted). Further, when Congress excluded

excepted service employees from having statutory remedies for discrimination under Title VII, it

did not intend to “foreclose alternative remedies available to those not covered by the statute.”


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           Title VII prohibits discrimination against “any individual” because of sex, 42 U.S.C.
§ 2000e-2(a)(1), whereas the Fifth Amendment states that “[n]o person” shall “be deprived of
life, liberty, or property, without due process of law,” U.S. CONST., amend. V. Because both
clauses protect the rights of individuals, the discrimination analysis in this context is the same.
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         Roe previously rebutted defendants’ arguments against her Bivens claims in detail, and
she expressly incorporates and adopts those arguments here. ECF No. 48, at 13–24.

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Id. at 247. Instead, Congress left “undisturbed whatever remedies” the employees “might

otherwise possess.” Id. That holding confirms that being “excepted service,” including in the

federal judiciary, does not forfeit constitutional remedies for discrimination. See Lindemann &

Grossman, Employment Discrimination Law Ch. 32.III.E (6th ed. 2020) (explaining that

“judicial branch employees not in the competitive service [who] are not yet covered by any

antidiscrimination statute . . . presumably still can sue directly under the Constitution based on

the Davis v. Passman theory”).

       However, defendants urge the Court to reject Davis v. Passman because in their view,

that precedent no longer applies to any federal employees covered by the Civil Service Reform

Act of 1978 (“CSRA”). 4 ECF No. 37, at 14–15; ECF No. 39, at 14–15; ECF No. 41, at 14–15;

ECF No. 45, at 16–17; ECF No. 52, at 8–10; ECF No. 53, at 6–8. Because all federal employees

are covered by the CSRA in one form or another, defendants’ argument is just another way of

saying that Davis is no longer good law. But only the Supreme Court has authority to overrule

its own precedents, and the Court has never overruled Davis. See, e.g., Hernandez v. Mesa, 140

S. Ct. 735, 743–44 (2020).




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          Defendants’ reading of the CSRA creates an intractable and unnecessary conflict with
Title VII, which even defendants concede does not preclude judiciary employees’ constitutional
remedies for discrimination. See ECF No. 53, at 8 n.4; ECF No. 54, at 7–8. Under defendants’
reading, excepted service employees would have constitutional remedies under Title VII but
would be barred from pursuing those remedies under the CSRA—a conflict which violates the
Supreme Court’s command to read the statutes “in accord.” Perry v. MSPB, 137 S. Ct. 1975,
1984 (2017). Defendants are also wrong to suggest that excepted service employees are not
“cover[ed]” by Title VII. ECF No. 54, at 7. Rather, Title VII protects those employees by
negating any intent to “relieve any Government agency or official of its or his primary
responsibility to assure nondiscrimination in employment as required by the Constitution and
statutes.” 42 U.S.C. § 2000e-16(e) (emphasis added); see also Koger v. Ball, 497 F.2d 702, 705
(4th Cir. 1974) (Title VII “did not create a new substantive right” but rather a “new remedy” for
discrimination).
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       Moreover, if defendants were right that the CSRA eliminated a damages remedy for

discrimination, the Court had the perfect opportunity to say so in Bush v. Lucas, which analyzed

the constitutional remedies available to federal employees and specifically discussed the CSRA.

See, e.g., 462 U.S. 367, 385 n.25 (1983). Instead, the Court stressed that it was not disturbing

Davis’s holding for equal protection violations that have “no alternative form of judicial relief.”

Id. at 377, 378 n.14. That holding directly applies to Roe, whose only option was an

“administrative” process that provided no judicial review or any legally binding remedies. JCUS

at 25; 2020 EDR Plan § V(C)(3)(f)(iii). Since Bush, the Court has confirmed that “alleged

gender discrimination in employment” is an “appropriate” context for a Bivens claim. FDIC v.

Meyer, 510 U.S. 471, 484 n.9 (1994). Defendants’ arguments cannot overcome controlling

Supreme Court precedent and should be rejected.

III.   Defendants Are Not Entitled To Qualified Or Absolute Immunity.

       Defendants are not entitled to qualified or absolute immunity for their conduct. 5

       Defendants are not entitled to qualified immunity because they had “fair warning, with

sufficient specificity, that their actions would constitute a deprivation of an individual’s

constitutional rights.” Betton v. Belue, 942 F.3d 184, 194 (4th Cir. 2019). “Even under novel

factual circumstances, a government official can still be on notice that his conduct violates

established law so long as the law provided ‘fair warning’ that his conduct was unconstitutional.”

Feminist Majority Found., 911 F.3d at 704 (quotations and alterations omitted).

       Specifically, it has long been clearly established that government officials who

“conscious[ly] fail[ed]” to act on, “acquiesced” in, or “d[id] nothing” in response to sexual



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         Roe expressly incorporates and adopts her previous arguments against qualified and
absolute immunity. ECF No. 48, at 22–24.

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harassment are not entitled to qualified immunity. Bohen, 799 F.2d at 1185; Andrews, 895 F.2d

at 1478; Cross v. State of Ala., 49 F.3d 1490, 1503 (11th Cir. 1995); Beardsley, 30 F.3d at 530

(citing Bohen with approval and noting that “sexual harassment has long been recognized to be a

type of gender discrimination”); accord Johnson v. Martin, 195 F.3d 1208, 1219 (10th Cir. 1999)

(“In instances in which a plaintiff demonstrates that a supervisor had actual knowledge of the

harassment but failed to take any remedial action (e.g., by investigating the allegations and

taking disciplinary action against the harassing subordinate employee), courts have concluded

that the supervisor may be held liable.”); Robinson v. City of Pittsburgh, 120 F.3d 1286, 1294

(3d Cir. 1997), abrogated on other grounds by Burlington Northern v. White, 548 U.S. 53 (2006)

(“Where a supervisor with authority over a subordinate knows that the subordinate is violating

someone’s rights but fails to act to stop the subordinate from doing so, the factfinder may usually

infer that the supervisor ‘acquiesced’ in (i.e., tacitly assented to or accepted) the subordinate’s

conduct.”); Bator, 39 F.3d at 1029 (“A supervisor who has been apprised of unlawful

harassment . . . should know that her failure to investigate and stop the harassment is itself

unlawful.”).

       Even an official who is not “entirely unresponsive” will be liable for not “engag[ing] in

efforts that were reasonably calculated to end the harassment.” 6 Feminist Majority Found., 911

F.3d at 689. The test is whether the official’s conduct was “clearly unreasonable” or

“deliberately indifferent,” id. at 701–02, which describes defendants’ conduct here. For

example, the Defender describes the First Assistant’s sexually harassing behavior as a “unique



       6
         The Court granted the defendants qualified immunity in Feminist Majority Foundation
because that case involved student-on-student sexual harassment in the university setting, which
presented a novel context. 911 F.3d at 704–05. In doing so, the Court distinguished sexual
harassment “in the context of a supervisory liability equal protection claim,” which violates
established law. Id. at 705; see also id. at 701 n. 16 (relying on Beardsley).
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opportunity for mentorship.” ECF No. 45, at 3–4. He also describes Roe’s complaints as

“vague” and “mere dissatisfaction with work assignments.” ECF No. 52, at 15. However, Roe

“notif[ied]” the Defender that she would be “drawing boundaries” with the First Assistant

because he had behaved “inappropriately” towards her, and “she was leaving the office early

every day to avoid issues with him.” Complaint ¶¶ 124–25. After Roe’s attempt to confront the

First Assistant was unsuccessful, id. ¶¶ 127–33, Roe reported again to the Defender that the First

Assistant “was interfering with her ability to do her job and that she felt threatened by him,” id.

¶ 143. For example, “the First Assistant had asked her repeatedly to meet out of the office.” Id.

He had “waited for her in the lobby at night when he knew she was alone.” Id. She repeated to

the Defender “that she was leaving the office early every day to avoid being alone with him.” Id.

The Defender acknowledged the significance of her complaints by stating that he did not want

her to feel “uncomfortable” or “unsafe.” Id. ¶ 144.

       Given the specificity of Roe’s reports, it was unreasonable for the Defender to interpret

her comments that she was not making a formal report “yet” because she was trying to self-

manage the situation, id. at ¶¶ 124–25, as “assurances” that she was not being harassed, ECF No.

45, at 4. Even if the Defender believed that Roe had only reported she was “uncomfortable,”

Complaint ¶ 198, he “surely should have known” that her complaints put him on notice, Okoli v.

City Of Baltimore, 648 F.3d 216, 224 (4th Cir. 2011). The Defender fails to recognize that

“[t]here is no magic word requirement. That is, the employee need not label the events ‘sexual

harassment’ in order to place an employer on notice of the offending behavior.” Id. at 224 n.8

(quoting parenthetical). Worse yet, the Defender compared Roe’s relationship with her harassing

supervisor to a marriage and told her to “compromise.” Roe Decl., Ex. B, at 5. The Defender

berated her for going to “some other party” with her complaints. Id. at 30; cf. 2020 EDR Plan



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§ V (encouraging employees to speak with individuals outside of the employing office). He

minimalized and trivialized her complaints by implying that, at least there was no “physical

contact.” Roe Decl., Ex. B, at 6; cf. 2020 EDR Plan § III(A) (“Wrongful conduct can be verbal,

non-verbal, physical, or non-physical.”). He rejected the Chief of Defender Services’ efforts to

ensure immediate and effective remedial action, Roe Decl., Ex. B, at 5–7; Roe Decl., Ex. C, at 1–

2, and instead retaliated against her and subjected her to a hostile working environment without

taking any meaningful action on her complaints, Roe Decl., Ex. B, at 4–7, 22–23, 24–27, 29–33.

       To this day, the Defender asserts that he has no legal duty to protect his employees from

discrimination. ECF No. 52, at 4 n.2. He claims that Title VII principles are “irrelevant”

because Title VII does not apply to the judiciary. Id. at 15; cf. 2020 EDR Plan § III(A)

(“Wrongful conduct also includes conduct that would violate . . . Title VII.”). He has even

described his employees’ constitutional rights as “non-existent.” ECF No. 52, at 18. His

continued hostility towards protected rights confirms that he is not entitled to qualified

immunity.

       The other defendants’ response was also “clearly unreasonable” and “deliberately

indifferent.” Feminist Majority Found., 911 F.3d at 701–02. For example, defendants did not

take disciplinary action until almost a full year after Roe raised complaints of harassment that

made her feel so threatened, she stopped coming into work and ultimately resigned. 7 See id. at

691–92 (discussing deliberate indifference where defendants “downplayed” harassment and told




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          Defendants’ conduct is especially unjustifiable because they were already aware of
“serious issues” in the FDO prior to Roe’s complaints. Complaint ¶ 264; see also Testimony of
Hon. Max. O. Cogburn, Ad Hoc Committee to Review the Criminal Justice Act (Jan. 11–12,
2016), available at https://tinyurl.com/y3bjugxy (describing employee misconduct and
retaliation); Carlin v. Federal Defenders of Western North Carolina, Inc., No. 3:13-cv-00365-
JFA-PJG (W.D.N.C) (prior employee discrimination lawsuit).
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complainants they were “powerless” to address it). An employer “must respond” to a report of

sexual harassment. See Feminist Majority Found., 911 F.3d at 690 (quoting parenthetical).

“[T]he mere act of listening” to a complaint “is not a remedy in and of itself,” id., nor is a “half-

hearted investigation or remedial action” sufficient, id. (quoting parenthetical). Finally,

defendants’ assertion that Roe’s resignation was “voluntar[y],” ECF No. 45, at 9, further

confirms their deliberate indifference. A reasonable official would know that making Roe feel

not “welcome” and “forced out” of her employing office, Complaint ¶ 381, was a constructive

discharge, not a voluntary resignation. Suders, 542 U.S. at 141.

       Defendants have cited no cases contrary to the overwhelming consensus of authority that

clearly establishes their violations of legal duties, including controlling cases from the Fourth

Circuit. Beardsley, 30 F.3d at 530; see also Feminist Majority Found., 911 F.3d at 702–04. And

defendants should know these standards better than anyone, given that it is the judiciary itself

that creates and applies these standards. Cf. Melissa Heelan Stanzione, Fourth Circuit Latest in

Judiciary to Review Harassment Policy, BLOOMBERG LAW (Oct. 25, 2019) (noting that the Chief

Judge and Circuit Executive serve on the Fourth Circuit “workplace relations committee”).

       Defendants have contended, however, that no court has specifically held that a member

of the federal judiciary can be liable for employment discrimination. ECF No. 37, at 25; ECF

No. 39, at 25; ECF No. 41, at 25; ECF No. 45, at 25. But as Davis held, even constitutional

officers “ought generally to be bound by the law as are ordinary persons.” 422 U.S. at 246

(quotation and alterations omitted). Moreover, to defeat qualified immunity, “[i]t is not

necessary . . . that the very action in question has previously been held unlawful.” Ziglar v.

Abbasi, 137 S. Ct. 1843, 1866–67 (2017) (quotation omitted). “That is, an officer might lose




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qualified immunity even if there is no reported case directly on point,” so long as the

unlawfulness of the officer’s conduct is “apparent.” Id. at 1867 (quotations omitted).

       In the context of sexual harassment specifically, courts have long emphasized that

officials may be liable “[e]ven under novel factual circumstances,” Feminist Majority Found.,

911 F.3d at 704, so long as “a reasonable government official in the defendants’ shoes would

have understood that the prohibition against sexual harassment extended to their [conduct],”

Markham v. White, 172 F.3d 486, 492 (7th Cir. 1999); see also Johnson, 195 F.3d at 1216 (“We

have never said that there must be a case presenting the exact fact situation at hand in order to

give parties notice of what constitutes actionable conduct. . . . Instead, we merely require the

parties to make a reasonable application of existing law to their own circumstances.”); Andrews,

895 F.2d at 1479–80 (“Although there may not have been any precedents with preciously

analogous facts it is sufficiently clear that by allowing the harassment of [the plaintiffs] to

continue, and possibly even participating directly in that harassment, a ‘reasonable official would

understand that what he is doing violates their rights.’”).

       Defendants’ arguments are especially unavailing given that they were on notice of the

standards governing their conduct through the judiciary’s codes of conduct and the EDR Plan,

which expressly incorporate well-established standards from Title VII precedents and

administrative guidance. See, e.g., Guide to Judiciary Policy § 220.10.10 (“Judiciary employees

have a right to a workplace free of discrimination, discriminatory harassment, abusive conduct,

and retaliation . . . .”); EDR Plan Ch. II, § 1 (prohibiting “discrimination” based on “sex” and

“[h]arassment against an employee based upon any of these protected categories or retaliation for

engaging in any protected activity”). No reasonable officer would believe it was acceptable to

engage in “serious violations” of the judiciary’s antidiscrimination policies. Ziglar, 137 S. Ct. at



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1864. After all, the purpose of qualified immunity is to “protect public officials from liability in

situations involving extraordinary circumstances and where they neither knew nor objectively

should have known the appropriate legal standard.” Andrews, 895 F.2d at 1480. That purpose is

not served where officials “should have known the applicable legal standard” against “treating,

or allowing their subordinates to treat, female employees differently on the basis of gender in

their work environment.” Id.

       Defendants further contend that the Chief Judge, EDR Coordinator, and General Counsel

were not Roe’s employer or the “primary tortfeasors.” ECF No. 53, at 4. Contrary to their

assertions, what matters under the Fifth Amendment is not an official’s job title or whether he

was a “primary tortfeasor,” but whether he violated a duty to act on sexual harassment

complaints. See, e.g., Bohen, 799 F.2d at 1189 (city officials were liable because they were

aware of harassment and tolerated it). The judiciary, and specifically the Fourth Circuit,

assumed that duty by covering Roe’s employing office under their EDR Plan. See EDR Plan Ch.

IX (“The Chief Judge and/or unit executive shall ensure that the allegations in the report are

appropriately investigated,” and “[e]mployees found by the Chief Judge and/or unit executive to

have engaged in wrongful conduct . . . may be subject to disciplinary action.”) (emphases added).

As discussed above, each of the defendants personally violated that duty under the facts of this

case. Supra pp. 1–13. And of course, the Defender was unequivocally both Roe’s employer and

a “primary tortfeasor” as a subject of her EDR complaint; therefore, even if the other defendants

are entitled to qualified immunity on this basis, he is not.

       Finally, neither the Chief Judge nor any other defendant is entitled to absolute immunity.

Under Judicial Conference policy, the EDR process is “strictly administrative” and is not a

judicial proceeding protected by absolute immunity. JCUS at 25; see also 2020 EDR Plan



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§ V(C)(3)(f)(iii) (EDR presiding officers serve in an “administrative capacity with limited, non-

Article III authority”). Judiciary officials, like other government officials, are not entitled to

absolute immunity for discriminatory personnel decisions, whether made during the EDR

process or otherwise. Forrester v. White, 484 U.S. 219, 224, 227 (1988).

IV.    Defendants Are Liable Under 42 U.S.C. §§ 1985(3) And 1986.

       Congress has imposed damages liability on government officials who conspire to violate

equal protection rights, which defendants only briefly addressed in their dismissal motions. See

ECF No. 37, at 24–25; ECF No. 39, at 24–25; ECF No. 41, at 24–25; ECF No. 45, at 24–25. The

Reconstruction Civil Rights Act holds liable officials who “conspire . . . for the purpose of

depriving, either directly or indirectly, any person or class of persons of the equal protection of

the laws.” Griffin v. Breckenridge, 403 U.S. 88, 102–03 (1971) (quoting 42 U.S.C. § 1985(3)).

The Act also holds liable officials who have the power to prevent or aid in preventing the

commission of conspiracies to violate equal protection rights, and who neglect or refuse to do so.

42 U.S.C. § 1986.

       These Reconstruction-era statutes do not create any new substantive rights, but rather

remedies to enforce the constitutional right to equal protection. 8 Great Am. Fed. Savings & Loan


       8
          Defendants have argued that the CSRA implicitly repealed Sections 1985(3) and 1986,
but their analysis is oversimplified. See, e.g., ECF No. 52, at 21–22; ECF No. 53, at 18. Absent
“a clearly expressed congressional intention,” Morton v. Mancari, 417 U.S. 535, 551 (1974),
repeals by implication are strongly disfavored, United States v. Fausto, 484 U.S. 439, 453
(1988). An implied repeal will only be found where provisions in two statutes are in
“irreconcilable conflict,” or where the latter Act covers the whole subject of the earlier one and
“is clearly intended as a substitute.” Posadas v. Nat’l City Bank, 296 U. S. 497, 503 (1936).
Defendants disregard these canons of construction by relying on cases involving competitive
service employees who did not bring equal protection claims. By contrast, the CSRA does not
show any intent to repeal longstanding equal protection remedies for excepted service
employees. Instead, Congress left “undisturbed” the “alternative remedies” those employees
possess. Davis, 442 U.S. at 247. Thus, the “statutes are capable of co-existence,” and “it is the
duty of courts . . . to regard each as effective.” Mancari, 417 U.S. at 551.

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Ass’n v. Novotny, 442 U.S. 366, 372 (1979). Moreover, the statutes must be accorded “a sweep

as broad as (their) language.” Griffin, 403 U.S. at 97 (quotation omitted); see also Novotny, 442

U.S. at 389 n. 6 (White, J., dissenting) (“It is clear that sex discrimination may be sufficiently

invidious to come within the prohibition of § 1985(3).”); Nat’l Org. for Women v. Operation

Rescue, 914 F.2d 582, 585 (4th Cir. 1990), judgment rev’d in part on other grounds, Bray v.

Alexandria Women’s Health Clinic, 506 U.S. 263 (1993) (holding that “gender-based animus

satisfies the ‘purpose’ element of § 1985(3)”).

       To prevail under Section 1985(3), a plaintiff must prove “(1) a conspiracy of two or more

persons, (2) who are motivated by a specific class-based, invidiously discriminatory animus to

(3) deprive the plaintiff of the equal enjoyment of rights secured by the law to all, (4) and which

results in injury to the plaintiff as (5) a consequence of an overt act committed by the defendants

in connection with the conspiracy.” A Soc’y Without a Name v. Commonwealth of Va., 655 F.3d

342, 273 (4th Cir. 2011) (quotation omitted). “Moreover, the plaintiff must show an agreement

or a meeting of the minds by the defendants to violate the plaintiff’s constitutional rights.” Id.

(quotation omitted).

       Here, the record fully sets out a conspiracy to violate Roe’s equal protection rights. By

their nature, defendants’ actions were part of a conspiracy because they involved “an agreement

or a meeting of the minds.” 9 Id. As the record shows, defendants agreed and coordinated on




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          As Roe has explained, the intracorporate-conspiracy doctrine does not apply because
the judiciary is inherently decentralized and no one office is in any other office’s chain of
command, especially with respect to federal defenders. Cf. Ziglar, 137 S. Ct. at 1867 (noting
that officers being sued were within the Department of Justice). Moreover, the doctrine does not
apply because defendants’ acts were “unauthorized” and violated the judiciary’s
antidiscrimination policies. Buschi v. Kirven, 775 F.2d 1240, 1253 (4th Cir. 1985). Their
actions also “involved a series of acts over time going well beyond simple ratification of a
managerial decision.” Stathos v. Bowden, 728 F.2d 15, 21 (1st Cir. 1984).
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their actions throughout the investigation, including the decisions to withhold the report, deny

disqualification, and delay any remedial action. Specifically, the Chief Judge and the Defender

were responsible for “appropriately investigat[ing]” Roe’s complaints under Ch. IX of the EDR

Plan, and “the EDR Coordinator, the General Counsel, and John Doe(s) personally involved

themselves with overseeing the investigation.” Supra, p. 5.

       Roe has also presented direct evidence that at least some of the defendants acted with a

“specific class-based, invidiously discriminatory animus.” A Soc’y Without a Name, 655 F.3d at

273. Notably, the “animus” requirement does not require proof of “maliciously motivated”

discrimination; rather “[i]t implies that the decisionmaker selected or reaffirmed a particular

course of action at least in part ‘because of,’ not merely ‘in spite of,’ its adverse effects upon an

identifiable group.” Bray, 506 U.S. at 270, 272 (quotation omitted). That requirement is met

here. As discussed above, sexual harassment is, by definition, intentional discrimination, and

defendants’ failure to take appropriate action is “unjustified unequal treatment” because of sex.

Bohen, 799 F.2d at 1185. Moreover, many of defendants’ overt acts confirm their discriminatory

purpose, such as the Defender’s hostile comments to Roe. Roe Decl., Ex. B, at 5–6, 30; see also

Complaint ¶ 266 (EDR Coordinator’s comments that it was not “helpful” for Roe to have

reported her complaint to the AO because “barriers go up” and “people are on guard”). As

another example, John Doe(s) recommended prohibiting the Fair Employment Opportunity

Officer from having any role in Roe’s complaint process or even speaking to Roe about her

rights—a recommendation that, at least initially, was accepted and implemented by the other

defendants. See Roe Decl., Ex. C, at 3. And on John Doe(s)’ recommendation, defendants

withheld the investigation report and deliberately delayed taking remedial action. See Roe Decl.,

Ex. C, at 45.



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       Even if some of the defendants did not personally act with class-based, discriminatory

animus—a topic which Roe has been unable to probe any further without discovery—they are

still liable for violating her equal protection rights. Section 1986 “inculpat[es] bystander

defendants who are not themselves conspirators under § 1985.” Linda E. Fisher, Anatomy of a

Duty to Protect: 42 U.S.C. Section 1986, 56 WASH. & LEE L. REV. 461, 464 (1999). The statute

creates liability for a “negligent failure to protect by an actor with knowledge of a § 1985

conspiracy and power to protect its victims,” even if that person did not “personally” act with

“discriminatory intent.” Id.; see also Clark v. Clabaugh, 20 F.3d 1290, 1298 (3d Cir. 1994)

(holding that negligence is sufficient to maintain a § 1986 claim). At a minimum, defendants

had “actual knowledge” of the violations of Roe’s rights and “neglected or refused to prevent”

those wrongful acts. Clark, 30 F.3d at 1295.

                                         CONCLUSION

       For these reasons, Roe respectfully requests that the Court enter an order granting partial

summary judgment against the individual-capacity defendants on the issue of liability under the

Fifth Amendment and 42 U.S.C. §§ 1985(3), 1986.

       This the 1st day of October, 2020.

                                                              Respectfully Submitted,

                                                              /s/ Cooper Strickland
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                                 CERTIFICATE OF SERVICE
I hereby certify that on the 1st day of October, 2020, I will electronically file the foregoing with

the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to the following:

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